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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



                                       No. 18-2889



                      In re: PETROLEOS DE VENEZUELA, S.A.,
                                               Petitioner



                               (D. Del. No 1-17-mc-00151)



                      SUR PETITION FOR PANEL REHEARING




Present: McKEE, VANASKIE, and SCIRCIA, Circuit Judges


              The petition for rehearing filed by Petitioner Petroleos de Venezuela SA in

the above-entitled case having been submitted to the judges who participated in the

decision of this Court,



       it is hereby O R D E R E D that the petition for rehearing by the panel is granted.

The order denying the petition for writ of mandamus and leave for petitioner to file a

reply entered October 26, 2018 is hereby vacated; and,
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       it is further O R D E R E D that the petition for writ of mandamus is hereby

consolidated with the appeals at Nos. 18-2797 and 18-3124 for disposition. Petitioner’s

reply to the response and supplemental response filed by Respondent Crystallex

International Corporation which was submitted on October 16, 2018 is deemed filed as of

the date of this order. The petition for writ of mandamus, the response, supplemental

response, and the reply are referred to the same merits panel which will consider the

appeals at Nos. 18-2797 and 18-3124; and,



       it is further O R D E R E D that all proceedings in the District Court are hereby

stayed pending the merits panel’s disposition of the petition for writ of mandamus and the

consolidated appeals; and,



       in light of this action taken by the panel, the petition for rehearing en banc is

denied as moot at the Court’s direction.



       The action taken by the panel today should not be construed as a determination

that mandamus relief is appropriate. The merits panel will determine whether mandamus

relief is warranted.

                                                  By the Court,

                                                  s/ Thomas I. Vanaskie
                                                  Circuit Judge
Date: November 23, 2018
                                                                    A True Copy :
CJG/cc:       All Counsel of Record

                                                                         Patricia S. Dodszuweit, Clerk
